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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

v.                                                      CASE NO.: 4:08cr29-SPM

KEVIN DENNIS O’CONNOR,

           Defendant.
____________________________/


              ORDER DENYING MOTION TO WITHDRAW PLEA

      This cause comes before the Court for consideration of Defendant’s

Motion to Withdraw Plea (doc. 326).

      A district court may permit the withdrawal of a plea before sentencing if

the defendant shows any “fair and just reason.” Fed. R. Crim. P. 32(e). In

evaluating a motion to withdraw, a court should consider “(1) whether close

assistance of counsel was available; (2) whether the plea was knowing and

voluntary; (3) whether judicial resources would be conserved; and (4) whether

the government would be prejudiced if the defendant were allowed to withdraw

his plea.” United States v. Buckles, 843 F.2d 469, 472 (11th Cir. 1988) (internal

citations omitted). A consideration of each of these factors demonstrates that

Defendant should not be allowed to withdraw his plea.
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        First, Defendant had close assistance of counsel. From the time of his

arraignment on November 11, 2008, Defendant has been represented by

Armando Garcia, an experienced defense lawyer. Mr. Garcia represented

Defendant at the change of plea hearing on February 9, 2009, before the

Honorable William C. Sherrill, Jr., United States Magistrate Judge. At that time,

Defendant entered a plea of guilty to Count IV of the Third Superseding

Indictment. The record shows Defendant had close assistance of counsel at the

time he entered his plea.

        Second, Defendant’s plea was knowing and voluntary. All of the matters

required under Fed. R. Crim. P. 11 are covered in the Magistrate Judge’s Report

and Recommendation. Defendant makes no claim that the Magistrate Judge

failed to advise him of the charges, his rights, or the possible penalties.

Defendant represented to the Magistrate Judge when he entered his plea that he

understood the sentence he faced and that no one made any threats or promises

to make him plead guilty.

        Third, judicial resources would not be conserved by allowing Defendant to

withdraw his plea since Defendant has already admitted his guilt. Defendant

signed a Statement of Facts (doc. 289) in which he admitted to selling

methamphetamine to the cooperating source in exchange for $2,000, as charged

in Count IV. Judicial resources would not be conserved by allowing Defendant to

withdraw his guilty plea.

        Finally, the government may be prejudiced if Defendant were allowed to

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withdraw his plea. Given the difficulties in reassembling a case with the passage

of time, the government will likely encounter obstacles. Assuming, however, that

the government will suffer no prejudice, Defendant still should not be allowed to

withdraw his plea since he has not met his initial burden of providing a fair and

just reason for withdrawal. See United States v. Rasmussen, 642 F.2d 165, 168

n. 6 (5th Cir. Unit B 1981) (absence of a showing of prejudice by the government

is not sufficient to require withdrawal of the plea where no credible reason is

proffered).

        Defendant may not like the statutory penalties that he is facing, but they

were explained to him when he entered his guilty plea. The statutory penalties

will not change if Defendant proceeds to trial. Upon consideration of the record

in this case, Defendant’s reason for withdrawal does not constitute a “fair and

just” reason. Accordingly, it is hereby

        ORDERED AND ADJUDGED that Defendant’s Motion to Withdraw Plea

(doc. 326) is denied.

        DONE AND ORDERED this 14th day of May, 2009.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge




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